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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In Re:                                                 Case No. 8:19-bk-06613-MGW
                                                       Chapter 7
Raymond Joseph Yosuico
Isabella Adele Yosuico

         Debtor(s)
                              /


                                  PROOF OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Order Approving Application to
Retain BK Global Real Estate Services, and Keller Williams Realty (Doc. No. 20) has been
furnished by U.S. Mail to: Bk Global Real Estate Services, 1095 Broken Sound Pkwy. NW,
#100, Boca Raton, FL 33487; Keller Williams Realty Eastern Panhandle, 105 Tavern Rd Suite
1, Martinsburg, WV 25401; Capital One Auto Finance, c/o AIS Portfolio Services, LP., 4515 N
Santa Fe Ave. Dept. APS, Oklahoma City, OK 73118 on this 17th day of October, 2019.

                                  /s/ Stephen L. Meininger

                                  STEPHEN L. MEININGER, TRUSTEE
                                  707 North Franklin Street, Suite 850
                                  Tampa, Florida 33602
                                  Phone (813) 301-1025
                                  Fax   (813) 307-0879
